Case 1:20-cv-22133-JEM Document 40 Entered on FLSD Docket 09/02/2020 Page 1 of 7




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                        CASE NO.: 1:20-cv-22133-MARTINEZ/OTAZO-REYES


  RYAN MAUNES MAGLANA and
  FRANCIS KARL BUGAYONG on
  their own behalf and as class
  representatives of all other similarly
  situated   Filipino     crewmembers
  aboard CELEBRITY cruise vessels,

          Plaintiffs,
                                                                       CLASS ACTION &
  v                                                                    DEMAND FOR
                                                                         JURY TRIAL

  CELEBRITY CRUISES INC.,

        Defendant.
  ______________________________/

             PLAINTIFFS’ RESPONSE IN OPPOSITION TO CELEBRITY’S
          MOTION TO STAY DISCOVERY AND FOR EXPEDITED TREATMENT

          Plaintiffs, RYAN MAUNES MAGLANA and KARL FRANCIS BUGAYONG, on their

  own behalf and on behalf of all other similarly situated Filipino crewmembers (hereinafter

  “PLAINTIFFS”), oppose Defendant’s Motion to Stay Discovery and for expedited treatment and

  respond:

          1.      Celebrity’s most recent submission to the Court [D.E. 39] is just the latest example

  of Defendant’s distaste for following Orders of any sort.

          2.      The submission should not be taken at face value because it fails to accurately

  apprise the Court of the procedural history of this case or even acknowledge the existence of the

  Court’s Order Setting Civil Trial Date and Pretrial Schedule, Requiring Mediation, and Referring

  Certain Motions to Magistrate Judge [D.E. 36] (hereinafter “Scheduling Order”).

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Case 1:20-cv-22133-JEM Document 40 Entered on FLSD Docket 09/02/2020 Page 2 of 7
                                                                   M AGLANA V. C ELEBRITY C RUIS E I NC .
                                                                      C AS E N O .: 1:20-cv-22133-JEM/AOR

           3.      As will be explained in further detail below, Defendant’s Motion to Stay Discovery

  lacks merit and the Court is well within its discretion to deny it accordingly.

      I.        The Motion impermissibly omits critical important information .

           4.      As a preliminary matter, Celebrity claims that discovery should be stayed but

  critically neglects to mention that the Court has already Ordered that “Discovery in this case shall

  be conducted…” [D.E. 36 at ¶ 6].

           5.      The Scheduling Order and the provisions concerning discovery were specifically

  referenced during the parties’ good-faith conferral before Defendant filed its motion, eliminating

  the possibility of mistake or ignorance. Nonetheless, Defendant’s motion was filed with the Court

  and neglects to mention the existence of the Court’s Scheduling Order.

           6.      Although Defendant could have asked the Court for Clarification or relief under

  Fed. R. Civ. P. 60, it elected to ignore the Order altogether.

           7.      Celebrity waited until the week after Plaintiffs propounded their initial discovery

  requests, a full eleven days 1 after the Court’s Scheduling Order was entered, before filing its

  motion.

           8.      After considerable delay, Celebrity’s first argument attacks the Court’s Scheduling

  Order’s provisions allowing for discovery under the Rules by indirectly complaining that exchange

  of evidence and testimony would be a “waste of time and expense”.

           9.      Although Celebrity is entitled to its own opinion, it is certainly not shared by

  Plaintiffs, whose ability to secure justice on the merits of their claim is neither a waste of time nor

  resources in the context of the intentional acts which they contend that Defendant has committed.


  1
   Celebrity refers to the elapsed time as “2 business days” which is calculated from when the
  discovery was propounded, as opposed to the date the Court’s Scheduling Order was entered on
  August 20th.
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Case 1:20-cv-22133-JEM Document 40 Entered on FLSD Docket 09/02/2020 Page 3 of 7
                                                                  M AGLANA V. C ELEBRITY C RUIS E I NC .
                                                                     C AS E N O .: 1:20-cv-22133-JEM/AOR

          10.     In addition to inexplicably omitting reference to the Court’s Scheduling Order,

  Celebrity also fails to mention the Court’s Order requiring the parties to mediate this dispute by

  November 1st [D.E. 38].

          11.     Without the opportunity to conduct discovery and investigate their claims,

  Celebrity knows that Plaintiffs’ ability to meaningfully participate in mediation and explore an

  amicable resolution of the dispute would be critically impaired.

          12.     Plaintiffs’ ability to discover critical liability and damages evidence that is entirely

  within the Defendant’s care, custody and control will invariably determine the Plaintiffs’ ability

  to exhaust all avenues of reaching an amicable resolution of the claim.

          13.     Conversely, it is undisputed that a party with the burden of proof can succeed only

  when there is competent admissible evidence to prove their claim. Limiting a party’s access to

  obtain the evidence needed to satisfy their burden all but guarantees an outcome that favors an

  unburdened adversary.

          14.     Celebrity’s strategic efforts to limit Plaintiffs’ ability to pursue discovery is little

  more than a calculated effort to obtain a guaranteed outcome in its favor. Its interest in an

  “inexpensive and expedient” resolution comes at the expense at the parties aggrieved by

  Defendant’s conduct. Claims presumably are resolved cheaply and quickly when they are

  summarily dismissed due to an insufficiency of evidence, but convenience cannot be a substitute

  for justice.

          15.     Defendant’s second argument inaccurately conflates the issue of voluntarily

  litigating a dispute with compliance with a court order in the case at bar.

          16.     In fact, at no point in the proceedings have Plaintiffs argued that Defendant’s

  participation in discovery will act as a waiver of its alleged right to arbitrate.

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Case 1:20-cv-22133-JEM Document 40 Entered on FLSD Docket 09/02/2020 Page 4 of 7
                                                                 M AGLANA V. C ELEBRITY C RUIS E I NC .
                                                                    C AS E N O .: 1:20-cv-22133-JEM/AOR

           17.      And unlike the cases cited to by Defendant to support its contextually inapposite

  arguments, Plaintiffs here do not argue “that, if [CELEBRITY] participates in discovery, it will

  be deemed to have waived its request to arbitrate.” Harrell's LLC v. Agrium Advanced (U.S.)

  Techs., Inc., 2011 U.S. Dist. LEXIS 48075, at *5 (M.D. Fla. Apr. 27, 2011). (emphasis added).

  Moreover, the waiver issue raised by Defendant is little more than a red herring because even

  within the context of arbitration, parties can seek leave to conduct discovery without waiving any

  claimed right to arbitrate. See e.g. Abdul Latif Jameel Transp. Co. v. FedEx Corp. (In re

  Application to Obtain Discovery for Use in Foreign Proceedings), 939 F.3d 710 (6th Cir. 2019).

           18.      Further, Defendant’s claimed fear of waiving any legal right it may have by

  complying with a Court Order absurdly overlooks the fact that other than this Court and the

  appellate courts which oversee the decisions from this District, who would be in a position to ruloe

  on Defendant’s alleged waiver argument? As Plaintiffs have already represented to the Court, this

  argument is entirely baseless and the legal authority upon which it relies deals with cases analyzing

  hypotheticals as made evident by the numerous instances of qualifying language such as “could”,

  “if”, “may”, “possibly” or “often”.

     II.         Celebrity is not entitled to the equitable remedies because of its Unclean Hands.

           19.      As explained in Plaintiff’s Response in Opposition to Defendant’s Motion to

  Compel Arbitration, Defendant’s own inequitable conduct of terminating the Plaintiffs’

  entitlement to wages on a unilateral basis is the undisputed cause of the dispute in the case at bar.

           20.      Celebrity has forfeited its right to any equitable remedies relating to the issues

  caused by that conduct. This includes the equitable remedy of specific performance (compelling

  arbitration) as well as injunctions (staying discovery). This alone is grounds to deny Celebrity’s

  motion.

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Case 1:20-cv-22133-JEM Document 40 Entered on FLSD Docket 09/02/2020 Page 5 of 7
                                                                    M AGLANA V. C ELEBRITY C RUIS E I NC .
                                                                       C AS E N O .: 1:20-cv-22133-JEM/AOR




      III.         The Motion unreasonably multiplies the proceedings in this case

             21.      A cursory review of Defendant’s submission reveals little more than a thinly veiled

  attempt to relitigate the arbitration issues by co-counsel despite being fully briefed since July 27th.

  Defendant also seeks an “expedited” ruling on the issue despite the reality that whatever

  Defendant’s contended prejudice is, the cause of the prejudice can only be attributed to its eleven-

  day delay in seeking relief. A party’s own lack of diligence cannot satisfy the “good cause”

  requirement under Local Rule 7.1(d).

             22.      Fed. R. Civ. P. 11(b) and 28 U.S.C. § 1927 both empower the Court to issue

  sanctions for submitting unreasonable or vexatious pleadings, which includes multiplying

  proceedings to harass an adversary or cause unnecessary delay.

             23.      Under 28 U.S.C. § 1927 "[a]ny attorney . . . who so multiplies the proceedings in

  any case unreasonably or vexatiously may be required by the court to satisfy personally the excess

  costs, expenses, and attorneys' fees reasonably incurred because of such conduct." Macort v. Prem,

  Inc., 208 F. App'x 781, 785 (11th Cir. 2006).

             24.      Defendant’s efforts to continually relitigate issues, needlessly multiplying these

  proceedings violates both the letter and spirit of the Rules which frown on gamesmanship and

  semantic gymnastics.

             25.      As stated by the Eleventh Circuit, sanctions are warranted when a party “knowingly

  or recklessly . . . engages in litigation tactics that needlessly obstruct the litigation of non-frivolous

  claims." Macort v. Prem, Inc., 208 F. App'x 781, 785-86 (11th Cir. 2006).

             26.      Celebrity’s argument that Plaintiffs should be deprived of the ability to have their

  claims resolved on the merits should be rejected by this Court as a miscarriage of justice.

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Case 1:20-cv-22133-JEM Document 40 Entered on FLSD Docket 09/02/2020 Page 6 of 7
                                                                 M AGLANA V. C ELEBRITY C RUIS E I NC .
                                                                    C AS E N O .: 1:20-cv-22133-JEM/AOR

  Defendant’s motion is deficient and baseless, and accordingly, Plaintiffs respectfully submit the

  Court is well within its discretion to deny Defendant’s repeated efforts to silence Plaintiffs.

           WHEREFORE Plaintiffs RYAN MAUNES MAGLANA                           and FRANCIS KARL

  AUSTRIA BUYAGONG on their own behalf and on behalf of all similarly situated Filipino

  seafarers in CELEBRITY’S fleet, respectfully request the Court DENY Celebrity’s Motion to Stay

  Discovery, and for any and all other relief at law or in equity that the Court deems just and proper.

  Dated:         September 2nd, 2020
                 Miami, Florida


                                         BY:    ________________________
                                                RAUL G. DELGADO II, ESQ.
                                                Florida Bar No. 094004


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on September 2nd, 2020 I electronically filed this document

  using the Court’s CM/ECF system, which will automatically serve a copy on all counsel of record

  in the service list included below..


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Case 1:20-cv-22133-JEM Document 40 Entered on FLSD Docket 09/02/2020 Page 7 of 7
                                                           M AGLANA V. C ELEBRITY C RUIS E I NC .
                                                              C AS E N O .: 1:20-cv-22133-JEM/AOR

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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                   CASE NO. 20-22133-CIV-MARTINEZ/OTAZO-REYES

  Plaintiffs RYAN MAUNES MAGLANA and FRANCIS KARL BUGAYONG, on their own
     behalf and as class representatives for all other similarly situated Filipino crewmembers
                           trapped aboard CELEBRITY cruise vessels,

                                               v.

                          Defendant, CELEBRITY CRUISES INC.

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